      Case 2:08-cr-00197-KJM Document 169 Filed 09/27/13 Page 1 of 2


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 5                        UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF CALIFORNIA

 7

 8   UNITED STATES OF AMERICA,            No. 2:08-cr-00197-GEB
 9                Plaintiff,
10        v.                              ORDER
11   MICHAEL CRAIG DENNIS,
12                Defendant.
13

14             Defendant filed an “Ex Part Application” on April 29,

15   2013, in which he seeks an order

16             directing the United States Probation Office
               to conduct a supplemental interview of
17             Defendant . . . for the purpose of preparing
               an    Addendum     to    [his]    Presentence
18             Investigation Report . . . limited to the
               issue of the nature and extent of [his]
19             substance abuse prior to sentencing and his
               amenability to treatment while incarcerated.
20
21   (Def.’s Ex Parte Appl. 1:21-2:1, ECF No. 151.)

22             The government was requested to file a written response

23   to Defendant’s Ex Parte Application, (Order, ECF No. 164), and

24   the government filed a response on September 19, 2013. (Gov’t

25   Statement of Non-Opp’n, ECF No. 167.) The government states in

26   its response:

27             the government has no opposition to the Court
               approving the proposed Order submitted by
28             Defendant. The proposed order authorizes the
                                     1
      Case 2:08-cr-00197-KJM Document 169 Filed 09/27/13 Page 2 of 2


 1                Probation Department to conduct a telephonic
                  suitability interview of Defendant for the
 2                RDAP at Lompoc USP. The government reserves
                  the right to oppose or otherwise respond to
 3                the United States Probation Department’s
                  post-telephonic interview recommendation.
 4

 5   (Id. at 2:1-7.)

 6                Defendant was sentenced in this action on October 5,

 7   2012, and the Judgment and Commitment was filed on October 19,

 8   2012. In light of the prescribed procedures for ensuring the

 9   accuracy    of   presentence    reports     and   authority   the    sentencing

10   judge has to modify a sentence after judgment is imposed, the

11   Court     questions   whether   it    has    jurisdiction     to    modify   the

12   presentence report at this time. Since it has not been shown that

13   the Court has authority to grant Defendant’s request, or that the

14   Court should exercise any discretionary authority it has to order

15   the relief Defendant seeks, Defendant’s Ex Parte Application is

16   denied.

17           Dated:   September 26, 2013

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